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                      Exhibit A
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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                    AT BECKLEY

MOUNTAIN VALLEY PIPELINE, LLC,

       Plaintiff,
v.                                                     CIVIL ACTION NO. 5:23-cv-00625

MELINDA ANN TUHUS,

       Defendant.


MOUNTAIN VALLEY PIPELINE, LLC,

       Plaintiff,
v.                                                     CIVIL ACTION NO. 5:23-cv-00626

ROSE ZHENG ABRAMOFF,

       Defendant.

                  AGREED ORDER GRANTING PERMANENT INJUNCTION

       On September 19, 2023, Plaintiff Mountain Valley Pipeline, LLC (“MVP”) filed two

Complaints against Melinda Ann Tuhus (“Tuhus”) and Rose Zheng Abramoff (“Abramoff”),

respectively. Upon consideration of the same, the parties have reached an agreement on the issues

raised in the Complaint and, pursuant to the terms of their settlement agreement, jointly move for

the entry of this Agreed Order, as follows:

       1.         It is ORDERED that Defendants Tuhus and Abramoff are hereby enjoined from

unlawfully entering onto or otherwise unlawfully interfering with access to, or unlawfully

interfering with operations on any site owned or operated by Mountain Valley Pipeline, LLC, to

include any property on which MVP, and its successors and assigns, owns or otherwise maintains

a right of way.




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       2.      All parties agree that this injunction is enforceable upon any and all property owned

or operated by Mountain Valley Pipeline, LLC, and its successors and assigns, in the United States.

       3.      Upon entry of this Stipulated Order, this action shall be dismissed with prejudice

and stricken from the docket of this Court. This Agreed Order shall be effective upon filing of the

stipulation of dismissal.

       The Clerk is directed to send a copy of this order to counsel of record listed below.


       ENTERED THIS ____ DAY OF MARCH



                                                     ___________________________________
                                                     HON. FRANK W. VOLK, Judge




ORDER AGREED TO FOR PLAINTIFF:


/s/ Timothy M. Miller
Timothy M. Miller (WVSB #2564)
Matthew S. Casto (WVSB #8174)
Robert M. Stonestreet (WVSB # 9370)
Jennifer J. Hicks (WVSB # 11423)
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Counsel for Mountain Valley Pipeline, LLC




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ORDER AGREED TO FOR DEFENDANTS:

/s/ William V. DePaulo (w/ permission)
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